Fill in this information to identify your case:
Debtor 1               Christopher James Ivester
                          First Name      Middle Name                 Last Name
Debtor 2
(Spouse, if filing) First Name      Middle Name                       Last Name
United States Bankruptcy Court for the:                        DISTRICT OF UTAH                                     Check if this is an amended plan, and
                                                                                                                    list below the sections of the plan that
Case number:              25-20424                                                                                  have been changed.

(If known)


Official Form 113
Chapter 13 Plan                                                                                                                                     12/17


Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                        plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                        will be ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in            Included                  Not Included
             a partial payment or no payment at all to the secured creditor
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in Section 3.4.
1.3          Nonstandard provisions, set out in Part 8.                                                       Included                  Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Debtor(s) will make regular payments to the trustee as follows:

$26,000.00 per Month for 36 months

Insert additional lines if needed.

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
             payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner.

             Check all that apply:
                      Debtor(s) will make payments pursuant to a payroll deduction order.
                      Debtor(s) will make payments directly to the trustee.
                      Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.


APPENDIX D                                                                Chapter 13 Plan                                                  Page 1
Debtor          Christopher James Ivester                                                   Case number        25-20424

                    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                    return and will turn over to the trustee all income tax refunds received during the plan term.

                    Debtor(s) will treat income refunds as follows:
                    For the next three tax years of 2024, 2025 and 2026, the Debtors shall pay into the Plan the net total amount of yearly state and
                    federal tax refunds that exceed $1,000 for each of the tax years identified in such section. If in an applicable tax year, the Debtors
                    receive an Earned Income Tax Credit ("EIC") and/or an Additional Child Tax Credit ("ACTC") on their federal tax return, the
                    Debtors may retain up to a maximum of $2,000 in tax refunds for such year based on a combination of the $1,000 allowed above
                    plus the amount of the EIC and/or ACTC credits up to an additional $1,000. On or before April 30 of each applicable tax year,
                    the Debtors shall provide the Trustee with a copy of the first two pages of filed state and federal tax returns. The Debtors shall
                    pay required tax refunds to the Trustee no later than June 30 of each such year. However, the Debtors are not obligated to pay
                    tax overpayments that have been properly offset by a taxing authority. Tax refunds paid into the Plan may reduce the plan term
                    to no less than the Applicable Commitment Period, but in no event, shall the amount paid into the Plan be less than thirty-six
                    (36) Plan Payments plus all annual tax refunds required to be paid into the plan.


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5       The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $1,559,999.31.

Part 3:   Treatment of Secured Claims

3.1       Maintenance of payments and cure of default, if any.

       Check one.
                None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                by the debtor(s).
Name of Creditor Collateral                     Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                payment                   arrearage (if any) on arrearage on arrearage                  total
                                                (including escrow)                               (if applicable)                        payments by
                                                                                                                                        trustee

                       19263 West 500
                       South Duchesne,
Bonnie                 UT 84021                                             Prepetition:
Peterson               Duchesne County                      $976.00                   $0.00           0.00%                   pro rata             $0.00
                                                   Disbursed by:
                                                      Trustee
                                                      Debtor(s)

                       5161 South Hwy
                       87 Duchesne, UT
Utah Housing           84021 Duchesne                                       Prepetition:
Corporation            County                               $867.00                   $0.00           0.00%                   pro rata             $0.00
                                                   Disbursed by:
                                                      Trustee
                                                      Debtor(s)

                       5161 South Hwy
                       87 Duchesne, UT
Utah Housing           84021 Duchesne                                       Prepetition:
Corporation            County                                 $42.00                  $0.00           0.00%                   pro rata             $0.00

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Debtor           Christopher James Ivester                                                Case number        25-20424

                                                  Disbursed by:
                                                     Trustee
                                                     Debtor(s)
Insert additional claims as needed.

3.2        Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                    The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                    The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
                    claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
                    secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
                    listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
                    listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

                    The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
                    of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
                    treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
                    creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

                    The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                    property interest of the debtor(s) or the estate(s) until the earlier of:

                    (a) payment of the underlying debt determined under nonbankruptcy law, or

                    (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.


Name of          Estimated       Collateral         Value of           Amount of         Amount of           Interest     Monthly        Estimated
creditor         amount of                          collateral         claims senior     secured claim       rate         payment to     total of
                 creditor's                                            to creditor's                                      creditor       monthly
                 total claim                                           claim                                                             payments
Allegiant                        2024 Dyna
Partners,        $90,000.0       SC16 Rapid                                                                                                $96,170.0
Inc              0               Split              $80,000.00                 $0.00        $80,000.00         7.50%       $1,604.00               9
Allegiant
Partners,        $25,000.0       2018 Ram                                                                                                  $24,042.4
Inc              0               2500               $20,000.00                 $0.00        $20,000.00         7.50%         $401.00               7
Allegiant
Partners,        $45,000.0       2021 Ram                                                                                                  $54,098.8
Inc              0               4500               $45,000.00                 $0.00        $45,000.00         7.50%         $902.00               4
Allegiant
Partners,        $75,000.0       2022 Ram                                                                                                  $72,127.5
Inc              0               5500               $60,000.00                 $0.00        $60,000.00         7.50%       $1,203.00               7
Allegiant
Partners,        $55,000.0       2022 Bobcat                                                                                               $60,112.5
Inc              0               L85                $50,000.00                 $0.00        $50,000.00         7.50%       $1,002.00               5
American
United
Federal                          2021 Jeep
Credit           $10,554.0       Grand                                                                                                     $12,682.3
Union            0               Chreokee           $25,000.00                 $0.00        $10,554.00         7.50%         $212.00               0
Blue                             2012 John
Bridge           $75,000.0       Deere                                                                                                     $66,113.8
Financial        0               2154D              $55,000.00                 $0.00        $55,000.00         7.50%       $1,103.00               1
Blue
Bridge           $77,000.0       2005 Timbco                                                                                               $84,155.0
Financial        0               445 EXL            $70,000.00                 $0.00        $70,000.00         7.50%       $1,403.00               8
Blue                             2007 John
Bridge           $52,000.0       Deere                                                                                                     $48,085.0
Financial        0               748GIII            $40,000.00                 $0.00        $40,000.00         7.50%         $802.00               7


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Debtor           Christopher James Ivester                                                 Case number        25-20424

Name of          Estimated        Collateral         Value of           Amount of         Amount of           Interest     Monthly        Estimated
creditor         amount of                           collateral         claims senior     secured claim       rate         payment to     total of
                 creditor's                                             to creditor's                                      creditor       monthly
                 total claim                                            claim                                                             payments
Financial
Pacific                           1991 Hitachi
Leasing,         $15,000.0        270LC Log                                                                                                 $18,028.7
Inc              0                Loader             $20,000.00                $0.00         $15,000.00        7.50%          $301.00               5
Financial
Pacific                           1976
Leasing,                          Prentice
Inc              $5,000.00        600B               $5,000.00                 $0.00          $5,000.00        7.50%          $101.00       $6,001.24
Financial
Pacific                           2004 Link
Leasing,         $20,000.0        Belt 240 LX                                                                                               $24,042.4
Inc              0                Delimber           $30,000.00                $0.00         $20,000.00        7.50%          $401.00               7
Kubota
Credit
Corporatio                        2022 Kubota
n                $2,000.00        SA35               $1,500.00                 $0.00          $1,500.00        7.50%           $31.00       $1,791.89
Kubota
Credit
Corporatio       $135,000.        2024 Kubota                                                                                               $162,296.
n                00               KX-080-5           $140,000.00               $0.00        $135,000.00        7.50%        $2,706.00             43
Kubota
Credit
Corporatio       $70,000.0        2024 Kubota                                                                                               $78,141.3
n                0                U55-5              $65,000.00                $0.00         $65,000.00        7.50%        $1,303.00               3
Mountain
America
Credit           $11,000.0        2008 GMC                                                                                                  $13,536.3
Union            0                C7500              $40,000.00                $0.00         $11,000.00        8.50%          $226.00               7
                                  2017
                                  Multiquip
PEAC                              LT6K Light
Solutions        $2,000.00        Tower              $1,500.00                 $0.00          $1,500.00        7.50%           $31.00       $1,791.89
                                  2016
                                  Magnum
PEAC                              MLT-6SK
Solutions        $2,000.00        Light Tower        $1,500.00                 $0.00          $1,500.00        7.50%           $31.00       $1,791.89
                                  2018
                 $170,000.        Freightliner                                                                                              $162,296.
U.S. Bank        00               SD122              $135,000.00               $0.00        $135,000.00        7.50%        $2,706.00             43
Umpqua                            2011 Bandit
Bank             $3,000.00        90XP               $15,000.00                $0.00          $3,000.00        7.50%           $61.00       $3,595.76
Umpqua           $14,000.0        2021 Bandit                                                                                               $12,014.9
Bank             0                SG-40              $10,000.00                $0.00         $10,000.00        7.50%          $201.00               6

Insert additional claims as needed.

 3.3       Secured claims excluded from 11 U.S.C. § 506.

   Check one.
                    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                    The claims listed below were either:

                    (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                        acquired for the personal use of the debtor(s), or

                    (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                    These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by

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Debtor           Christopher James Ivester                                                  Case number        25-20424

                    the trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                    proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
                    the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                    payments disbursed by the trustee rather than by the debtor(s).

Name of Creditor             Collateral                    Amount of claim              Interest rate      Monthly plan      Estimated total
                                                                                                           payment           payments by trustee
                             2024 Cooksawmill
Amur                         AC36                          $110,000.00                        7.50%            $2,205.00                   $132,240.14
                                                                                                           Disbursed by:
                                                                                                              Trustee
                                                                                                              Debtor(s)
First Citizens               2023 Ram 2500                 $62,767.67                         7.50%            $1,258.00                    $75,460.78
                                                                                                           Disbursed by:
                                                                                                              Trustee
                                                                                                              Debtor(s)
Harley Davidson              2024 Harely Davidson
Financial                    Roadglide                     $36,868.00                         7.50%              $739.00                    $44,322.53
                                                                                                           Disbursed by:
                                                                                                              Trustee
                                                                                                              Debtor(s)
Harley Davidson              2024 Harley Davidson
Financial                    Road Glide                    $23,758.00                         7.50%              $477.00                    $28,551.93
                                                                                                           Disbursed by:
                                                                                                              Trustee
                                                                                                              Debtor(s)
PEAC Solutions               2006 Caterpillar D5N          $55,116.98                         7.50%            $1,105.00                     $66,258.74
                                                                                                           Disbursed by:
                                                                                                              Trustee
                                                                                                              Debtor(s)

Insert additional claims as needed.

3.4       Lien avoidance.

Check one.
                    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5       Surrender of collateral.

          Check one.
                  None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4:   Treatment of Fees and Priority Claims

4.1       General
          Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
          without postpetition interest.

4.2       Trustee’s fees
          Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
          during the plan term, they are estimated to total $156,000.00.

4.3       Attorney's fees.

          The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,634.00.

4.4       Priority claims other than attorney’s fees and those treated in § 4.5.

          Check one.
                  None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                  The debtor(s) estimate the total amount of other priority claims to be $1,880.00


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Debtor            Christopher James Ivester                                                Case number        25-20424

4.5        Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

           Check one.
                   None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



Part 5:     Treatment of Nonpriority Unsecured Claims

5.1        Nonpriority unsecured claims not separately classified.

           Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
           providing the largest payment will be effective. Check all that apply.

             The sum of $ 47,734.00 .
                  % of the total amount of these claims, an estimated payment of $     .
             The funds remaining after disbursements have been made to all other creditors provided for in this plan.



             If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 47,734.00 .
             Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2        Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                     None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3        Other separately classified nonpriority unsecured claims. Check one.

                     None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:     Executory Contracts and Unexpired Leases

6.1        The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
           contracts and unexpired leases are rejected. Check one.

                     None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:     Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the applicable box:
            plan confirmation.
            entry of discharge.
            other:

Part 8:     Nonstandard Plan Provisions

8.1        Check "None" or List Nonstandard Plan Provisions
                  None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
 1. Applicable Commitment Period. The applicable commitment period for the Plan is 36 months. The number of months listed in Part 2.1 for
 which the debtor will make regular payments is an estimate only; the applicable commitment period stated here dictates the term of the Plan. Any
 below median cases may be extended as necessary not to exceed 60 months to complete the Plan payments.

2. The Local Rules of Practice of the United States Bankruptcy Court for the District of Utah are incorporated by reference in the Plan.


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Debtor           Christopher James Ivester                                                   Case number    25-20424

3. Adequate Protection Payments. If the debtor seeks to pay Adequate Protection Payments to holders of secured claims the requirements of Local
Rule 2083-1(d) apply. The creditors listed below will receive Adequate Protection Payments and should refer to the "Notice for Adequate
Protection Payments" for details:
      Allegiant Partners, Inc ~ Plan Section 3.2
      Allegiant Partners, Inc ~ Plan Section 3.2
      Allegiant Partners, Inc ~ Plan Section 3.2
      Allegiant Partners, Inc ~ Plan Section 3.2
      Allegiant Partners, Inc ~ Plan Section 3.2
      American United Federal Credit Union ~ Plan Section 3.2
      Blue Bridge Financial ~ Plan Section 3.2
      Blue Bridge Financial ~ Plan Section 3.2
      Blue Bridge Financial ~ Plan Section 3.2
      Financial Pacific Leasing, Inc ~ Plan Section 3.2
      Financial Pacific Leasing, Inc ~ Plan Section 3.2
      Financial Pacific Leasing, Inc ~ Plan Section 3.2
      Kubota Credit Corporation ~ Plan Section 3.2
      Kubota Credit Corporation ~ Plan Section 3.2
      Kubota Credit Corporation ~ Plan Section 3.2
      Mountain America Credit Union ~ Plan Section 3.2
      PEAC Solutions ~ Plan Section 3.2
      PEAC Solutions ~ Plan Section 3.2
      U.S. Bank ~ Plan Section 3.2
      Umpqua Bank ~ Plan Section 3.2
      Umpqua Bank ~ Plan Section 3.2
      Amur ~ Plan Section 3.3
      First Citizens ~ Plan Section 3.3
      Harley Davidson Financial ~ Plan Section 3.3
      Harley Davidson Financial ~ Plan Section 3.3
      PEAC Solutions ~ Plan Section 3.3

 4. Pursuant to LR 2083-2(i)(4) If the debtor elects to pay directly a claim listed in Part 3.3 of the Plan, the following conditions apply: (A) the
Debtor will pay the claim without any modifications to the terms of the contract; (B) upon entry of the Order Confirming the Plan, the automatic
stay of § 362 and the co-debtor stay of § 1301 are terminated as to such collateral and claims; (C) the claim will not be discharged; and (D) neither
the Court nor the Trustee will monitor the Debtor(s) performance on direct payments to such creditor.


Part 9:   Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.
 X /s/ Christopher James Ivester                                        X
       Christopher James Ivester                                             Signature of Debtor 2
       Signature of Debtor 1

     Executed on      February 11, 2025                                        Executed on

X    /s/ Justin O. Burton                                               Date     February 11, 2025
     Justin O. Burton 6506
     Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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Debtor           Christopher James Ivester                                                Case number        25-20424

Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                $0.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                                              $1,002,917.19

c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                           $346,834.12

d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                         $0.00

e.   Fees and priority claims (Part 4 total)                                                                                            $162,514.00

f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                            $47,734.00

g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                              $0.00

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                         $0.00

i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                   $0.00

j.   Nonstandard payments (Part 8, total)                                                                   +                                   $0.00


Total of lines a through j                                                                                                            $1,559,999.31




Official Form 113                                                     Chapter 13 Plan                                                  Page 8
Justin O. Burton (6506)
Scott T. Blotter (6185)
RULON T. BURTON & ASSOCIATES
Attorney for Debtors(s)
448 East Winchester Street, Suite 175
Murray, Utah 84107
(801) 288-0202



                       IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF UTAH


 In Re:                                              Case No. 25-20424

 Christopher James Ivester                           Chapter 13
 ssn xxx-xx-0038
                                                     Hon. Kevin R. Anderson
 Debtor(s)
                  NOTICE OF ADEQUATE PROTECTION PAYMENTS
                UNDER 11 U.S.C. § 1326(a) AND OPPORTUNITY TO OBJECT

The Debtor states as follows:

   1.     On January 28, 2025, the Debtor(s) filed a Chapter 13 petition for relief.

   2.     The Debtor proposes to make Adequate Protection Payments, pursuant to §

          1326(a)(1)(C) accruing with the initial plan payment which is due no later than the

          originally scheduled meeting of creditors under § 341 and continuing to accrue on the

          first day of each month thereafter, to the holders of the allowed secured claims in the

          amounts specified below:
    Secured Creditor         Description of     Monthly Adequate Number of Months
                               Collateral       Protection Payment to Pay Adequate
                                                      Amount          Protection
Alegiant Partners, Inc    2024 Dyna SC16             $ 800.00           6
                          Rapid Split
Alegiant Partners, Inc    2018 Dodge Ram             $ 200.00           6
                          2500
Alegiant Partners, Inc    2021 Dodge Ram             $ 450.00           6
                          4500
Alegiant Partners, Inc    2022 Dodge Ram             $ 600.00           6
                          5500
Alegiant Partners, Inc    2022 Bobcat L85            $ 500.00           6
American United Federal 2021 Jeep Gran               $ 105.00           6
Credit Union            Cherokee
Blue Ridge Financial      2012 John Deere            $ 550.00           6
                          2154D
Blue Ridge Financial      2005 Timbco 445            $ 700.00           6
                          EXL
Blue Ridge Financial      2007 John Deere            $ 400.00           6
                          748GIII
Pacific Financial Leasing, 1991 Hitachi 270LC        $ 150.00           6
Inc                        Log Loader
Pacific Financial Leasing, 1976 Prentice 600B        $   50.00          6
Inc
Pacific Financial Leasing, 2004 Link Belt 240        $ 200.00           6
Inc                        LX Delimber
Kubota Credit             2022 Kubota SA35           $   15.00          6
Corporation
Kubota Credit             2024 Kubota KX-            $1,350.00          6
Corporation               080-5
Kubota Credit             2024 Kubota U55-5          $ 650.00           6
Corporation
Mountain America Credit 2008 GMC C7500               $ 110.00           6
Union
PEAC Solutions               2017 Multiquip               $   15.00              6
                             LT6K Light Tower
PEAC Solutions               2016 Magnum                  $   15.00              6
                             MLT-6SK Light
                             Tower
U.S. Bank                    2018 Freightliner            $1,350.00              6
                             SD122
Umpqua Bank                  2011 Bandit 90XP             $   30.00              6
Umpqua Bank                  2021 Bandit SG-40            $ 100.00               6
Amur                         2024 Cooksawmill             $ 800.00               6
                             AC36
First Citizens               2023 Dodge Ram               $ 550.00               6
                             2500
Harley Davidson              2024 Harley                  $ 320.00               6
Financial                    Davidson Roadglide
Harley Davidson              2024 Harley                  $ 250.00               6
Financial                    Davidson Roadglide
PEAC Solutions               2006 Caterpillar             $ 550.00               6
                             D5N


3.    The monthly plan payments proposed by the Debtor(s) shall include the amount

      necessary to pay all Adequate Protection Payments and the amount necessary to pay the

      Trustee’s statutory fee.

 4.   Upon completion of the Adequate Protection Payment period designated herein for each

      listed secured creditor, the Equal Monthly Plan Payment identified in each Part of the

      Plan shall be the monthly payment and shall accrue on the first day of each month.

 5.   This Notice shall govern Adequate Protection Payments to each listed secured creditor

      unless subsequent Notice is filed by Debtor or otherwise ordered by the Court.

 6.   Objections, if any, to the proposed Adequate Protection Payments shall be filed as
    objections to confirmation of the Plan. Objections must be filed and served no later than

    7 days before the date set for the hearing on confirmation of the Plan.



Dated: February 11, 2025

                                                               /S/
                                                 Justin O. Burton, of and for,
                                                 Rulon T. Burton & Associates
       CERTIFICATE OF SERVICE BY ELECTRONIC NOTICE (CM/ECF)

        I hereby certify that on February 11, 2025, I electronically filed the foregoing
CHAPTER 13 PLAN and NOTICE OF ADEQUATE PROTECTION PAYMENTS
UNDER 11 U.S.C. § 1326(a) AND OPPORTUNITY TO OBJECT with the United States
Bankruptcy Court for the District of Utah by using the CM/ECF system. I further certify that the
parties of record in this case, as identified below, are registered CM/ECF users.

Lon A. Jenkins, Chapter 13 Trustee, via ECF


              CERTIFICATE OF SERVICE BY MAIL OR OTHER MEANS

        I hereby certify that on February 11, 2025, I caused to be served a true an correct copy of
the foregoing CHAPTER 13 PLAN and NOTICE OF ADEQUATE PROTECTION
PAYMENTS UNDER 11 U.S.C. § 1326(a) AND OPPORTUNITY TO OBJECT as follows:

       [X] Mail Service to All Parties in Interest: First-class U.S. mail, postage pre-paid
addressed to all parties who did not receive electronic service as set forth herein listed on
the Official Court Mailing Matrix dated February 11, 2025 attached hereto.




                                                                       /S/
                                                     Mailing Clerk
Label Matrix for local noticing            Affirm, Inc.                              Allegiant Partners, Inc
1088-2                                     Attn: Bankruptcy                          1550 Parkside Drive, Ste 240
Case 25-20424                              650 California Street, Fl 12              Walnut Creek, CA 94596-3535
District of Utah                           San Francisco, CA 94108-2716
Salt Lake City
Tue Feb 11 12:30:09 MST 2025
Amanda Hager                               (p)AMERICAN UNITED FEDERAL CREDIT UNION   Amur
768 W Regatta Lane                         ATTN COLLECTIONS DEPARTMENT               27401 Los Altos Suite 310
Tooele, UT 84074-4909                      2687 W 7800 S                             Mission Viejo, CA 92691-6316
                                           WEST JORDAN UT 84088-4217


Blue Bridge Financial                      Bonnie Peterson                           Justin O. Burton
11921 Freedom Dr Suite 1130                PO Box 890                                Rulon T. Burton & Assoc.
Reston, VA 20190-6225                      Duchesne, UT 84021-0890                   448 E Winchester St Suite 175
                                                                                     Murray, UT 84107-8503


Carquest Auto Parts                        Kenyon D. Dove                            Explore/Comenity Bank
25 East Hwy 40                             Smith Knowles, P.C.                       Bankruptcy Department
Roosevelt, UT 84066-3252                   2225 Washington Boulevard                 PO Box 182125
                                           Suite 200                                 Columbus, OH 43218-2125
                                           Ogden, UT 84401-6887

Financial Pacific Leasing, Inc             First Citizens Bank                       First Citizens Bank and Trust Co.
3455 South 344th Way, Ste 300              PO Box 27131                              c/o Weltman, Weinberg & Reis Co LPA
Auburn, WA 98001-9546                      Raleigh, NC 27611-7131                    5990 West Creek Rd. Ste 200
                                                                                     Independence, OH 44131-2191


(p)FIRST CITIZENS BANK AND TRUST COMPANY   Harley Davidson Financial                 Christopher James Ivester
10201 CENTURION PARKWAY N STE 100          Attn: Bankruptcy                          HC 65 Box 215
JACKSONVILLE FL 32256-4114                 PO Box 22048                              Duchesne, UT 84021-9601
                                           Carson City, NV 89721-2048


Lon Jenkins tr                             Kubota Credit Corporation                 Mountain America Credit Union
Ch. 13 Trustee’s Office                    1025 Northbrook Parkway                   Attn: Asset Management / Bankruptcy
465 South 400 East                         Suwanee, GA 30024-2967                    PO Box 2331
Suite 200                                                                            Sandy, UT 84091-2331
Salt Lake City, UT 84111-3345

Office of Recovery Services                PEAC Solutions                            Progressive Insurance
PO Box 45033                               300 Fellowship Road                       PO Box 43258
SLC, UT 84145-0033                         Mount Laurel, NJ 08054-1201               Richmond Heig, OH 44143-0258



Rhinehart Oil                              (p)US BANK                                Umpqua Bank
4475 California Ave                        PO BOX 5229                               10757 S River Front Pkwy #275
Salt Lake City, UT 84104-4493              CINCINNATI OH 45201-5229                  South Jordan, UT 84095-3548



United States Trustee                      Utah Housing Corporation                  Utah Housing Corporation
Washington Federal Bank Bldg.              Bankruptcy Department                     2479 South Lake Park Blvd
405 South Main Street                      2479 South Lake Park Blvd.                Salt Lake City, UT 84120-8217
Suite 300                                  West Valley City, UT 84120-8217
Salt Lake City, UT 84111-3402
Utah State Tax Commission                            Aaron M. Waite                                       (p)ZIONS BANCORPORATION
Attn Bankruptcy Unit                                 Office of Utah Attorney General                      P O BOX 30709 UT ZB11 0877
210 North 1950 West                                  160 E 300 S, Fifth Floor                             SALT LAKE CITY UT 84130-0709
Salt Lake City, UT 84134-9000                        Salt Lake City, UT 84114




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


American United Federal Credit Union                 First Citizens Bank and Trust Company                U.S. Bank
PO Box 1030                                          10201 Centurion Parkway N.                           PO Box 5229
West Jordan, UT 84084                                Jacksonville FL 32256                                Cincinnati, OH 45201-5229



Zions First National Bank
Bankruptcy 232-K5
PO Box 30709
Salt Lake City, UT 84130-0709




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Utah Housing Corporation                          End of Label Matrix
Bankruptcy Department                                Mailable recipients    32
2479 South Lake Park Blvd.                           Bypassed recipients     1
West Valley City, UT 84120-8217                      Total                  33
